        Case 3:21-cv-09189-SK Document 1 Filed 11/29/21 Page 1 of 8




1      CENTER FOR DISABILITY ACCESS
       Amanda Seabock, Esq., SBN 289900
2      Prathima Price, Esq., SBN 321378
       Dennis Price, Esq., SBN 279082
3      Mail: 8033 Linda Vista Road, Suite 200
       San Diego, CA 92111
4      (858) 375-7385; (888) 422-5191 fax
       amandas@potterhandy.com
5
       Attorneys for Plaintiff
6
7
8
                           UNITED STATES DISTRICT COURT
9                         NORTHERN DISTRICT OF CALIFORNIA
10
11     Orlando Garcia,                          Case No.

12               Plaintiff,
                                                Complaint For Damages And
13       v.                                     Injunctive Relief For Violations
                                                Of: Americans With Disabilities
14     Yip Holdings Six, LLC, a California      Act; Unruh Civil Rights Act
       Limited Liability Company;
15     Hitesh Parekh

16               Defendants.

17
18         Plaintiff Orlando Garcia complains of Yip Holdings Six, LLC, a

19   California Limited Liability Company; Hitesh Parekh; and alleges as follows:

20
21
       PARTIES:
22
       1. Plaintiff is a California resident with physical disabilities. Plaintiff
23
     suffers from Cerebral Palsy. He has manual dexterity issues. He cannot walk.
24
     He uses a wheelchair for mobility.
25
       2. Defendant Yip Holdings Six, LLC owned the real property located at or
26
     about 18040 Hesperian Blvd., San Lorenzo, California, in November 2021.
27
       3. Defendant Yip Holdings Six, LLC owns the real property located at or
28
     about 18040 Hesperian Blvd., San Lorenzo, California, currently.

                                          1

     Complaint
        Case 3:21-cv-09189-SK Document 1 Filed 11/29/21 Page 2 of 8




1      4. Defendant Hitesh Parekh owned Marvel Mart located at or about
2    18040 Hesperian Blvd., San Lorenzo, California, in November 2021.
3      5. Defendant Hitesh Parekh owns Marvel Mart (“Store”) located at or
4    about 18040 Hesperian Blvd., San Lorenzo, California, currently.
5      6. Plaintiff does not know the true names of Defendants, their business
6    capacities, their ownership connection to the property and business, or their
7    relative responsibilities in causing the access violations herein complained of,
8    and alleges a joint venture and common enterprise by all such Defendants.
9    Plaintiff is informed and believes that each of the Defendants herein is
10   responsible in some capacity for the events herein alleged, or is a necessary
11   party for obtaining appropriate relief. Plaintiff will seek leave to amend when
12   the true names, capacities, connections, and responsibilities of the Defendants
13   are ascertained.
14
15     JURISDICTION & VENUE:
16     7. The Court has subject matter jurisdiction over the action pursuant to 28
17   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
18   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
19     8. Pursuant to supplemental jurisdiction, an attendant and related cause
20   of action, arising from the same nucleus of operative facts and arising out of
21   the same transactions, is also brought under California’s Unruh Civil Rights
22   Act, which act expressly incorporates the Americans with Disabilities Act.
23     9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
24   founded on the fact that the real property which is the subject of this action is
25   located in this district and that Plaintiff's cause of action arose in this district.
26
27     FACTUAL ALLEGATIONS:
28     10. Plaintiff went to the Store in November 2021 with the intention to avail


                                               2

     Complaint
        Case 3:21-cv-09189-SK Document 1 Filed 11/29/21 Page 3 of 8




1    himself of its goods or services motivated in part to determine if the
2    defendants comply with the disability access laws. Not only did Plaintiff
3    personally encounter the unlawful barriers in November 2021, but he wanted
4    to return and patronize the business two more times but was specifically
5    deterred due to his actual personal knowledge of the barriers gleaned from his
6    encounter with them.
7      11. The Store is a facility open to the public, a place of public
8    accommodation, and a business establishment.
9      12. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
10   to provide wheelchair accessible sales counters in conformance with the ADA
11   Standards as it relates to wheelchair users like the plaintiff.
12     13. The Store provides sales counters to its customers but fails to provide
13   wheelchair accessible sales counters in conformance with the ADA Standards.
14     14. A problem that plaintiff encountered was that the sales counter was too
15   high. The sales counter did not have a section that was 36 inches in height or
16   less. Although there was another counter nearby, this was used for California
17   state lottery sales.
18     15. Plaintiff believes that there are other features of the sales counters that
19   likely fail to comply with the ADA Standards and seeks to have fully compliant
20   sales counters for wheelchair users.
21     16. On information and belief, the defendants currently fail to provide
22   wheelchair accessible sales counters.
23     17. Additionally, on the date of the plaintiff’s visit, the defendants failed to
24   provide accessible entrance door hardware in conformance with the ADA
25   Standards as it relates to users like the plaintiff.
26     18. The Store provides door hardware to its customers but fails to provide
27   accessible door hardware.
28     19. One problem that plaintiff encountered was that the entrance door


                                               3

     Complaint
        Case 3:21-cv-09189-SK Document 1 Filed 11/29/21 Page 4 of 8




1    hardware had a pull bar style handle that required tight grasping to operate.
2      20. Plaintiff believes that there are other features of the door hardware that
3    likely fail to comply with the ADA Standards and seeks to have fully compliant
4    door hardware.
5      21. On information and belief, the defendants currently fail to provide
6    accessible door hardware.
7      22. The failure to provide accessible facilities created difficulty and
8    discomfort for the Plaintiff.
9      23. These barriers relate to and impact the plaintiff’s disability. Plaintiff
10   personally encountered these barriers.
11     24. As a wheelchair user, the plaintiff benefits from and is entitled to use
12   wheelchair accessible facilities. By failing to provide accessible facilities, the
13   defendants denied the plaintiff full and equal access.
14     25. The defendants have failed to maintain in working and useable
15   conditions those features required to provide ready access to persons with
16   disabilities.
17     26. The barriers identified above are easily removed without much
18   difficulty or expense. They are the types of barriers identified by the
19   Department of Justice as presumably readily achievable to remove and, in fact,
20   these barriers are readily achievable to remove. Moreover, there are numerous
21   alternative accommodations that could be made to provide a greater level of
22   access if complete removal were not achievable.
23     27. Plaintiff will return to the Store to avail himself of its goods or services
24   and to determine compliance with the disability access laws once it is
25   represented to him that the Store and its facilities are accessible. Plaintiff is
26   currently deterred from doing so because of his knowledge of the existing
27   barriers and his uncertainty about the existence of yet other barriers on the
28   site. If the barriers are not removed, the plaintiff will face unlawful and


                                             4

     Complaint
        Case 3:21-cv-09189-SK Document 1 Filed 11/29/21 Page 5 of 8




1    discriminatory barriers again.
2      28. Given the obvious and blatant nature of the barriers and violations
3    alleged herein, the plaintiff alleges, on information and belief, that there are
4    other violations and barriers on the site that relate to his disability. Plaintiff will
5    amend the complaint, to provide proper notice regarding the scope of this
6    lawsuit, once he conducts a site inspection. However, please be on notice that
7    the plaintiff seeks to have all barriers related to his disability remedied. See
8    Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
9    encounters one barrier at a site, he can sue to have all barriers that relate to his
10   disability removed regardless of whether he personally encountered them).
11
12   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
13   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
14   Defendants.) (42 U.S.C. section 12101, et seq.)
15     29. Plaintiff re-pleads and incorporates by reference, as if fully set forth
16   again herein, the allegations contained in all prior paragraphs of this
17   complaint.
18     30. Under the ADA, it is an act of discrimination to fail to ensure that the
19   privileges, advantages, accommodations, facilities, goods and services of any
20   place of public accommodation is offered on a full and equal basis by anyone
21   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
22   § 12182(a). Discrimination is defined, inter alia, as follows:
23             a. A failure to make reasonable modifications in policies, practices,
24                or procedures, when such modifications are necessary to afford
25                goods,     services,     facilities,   privileges,    advantages,      or
26                accommodations to individuals with disabilities, unless the
27                accommodation would work a fundamental alteration of those
28                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).


                                               5

     Complaint
        Case 3:21-cv-09189-SK Document 1 Filed 11/29/21 Page 6 of 8




1             b. A failure to remove architectural barriers where such removal is
2                 readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
3                 defined by reference to the ADA Standards.
4             c. A failure to make alterations in such a manner that, to the
5                 maximum extent feasible, the altered portions of the facility are
6                 readily accessible to and usable by individuals with disabilities,
7                 including individuals who use wheelchairs or to ensure that, to the
8                 maximum extent feasible, the path of travel to the altered area and
9                 the bathrooms, telephones, and drinking fountains serving the
10                altered area, are readily accessible to and usable by individuals
11                with disabilities. 42 U.S.C. § 12183(a)(2).
12     31. When a business provides sales counters, it must provide accessible
13   sales counters.
14     32. Here, accessible sales counters have not been provided in conformance
15   with the ADA Standards.
16     33. When a business provides door hardware, it must provide accessible
17   door hardware.
18     34. Here, accessible door hardware has not been provided in conformance
19   with the ADA Standards.
20     35. The Safe Harbor provisions of the 2010 Standards are not applicable
21   here because the conditions challenged in this lawsuit do not comply with the
22   1991 Standards.
23     36. A public accommodation must maintain in operable working condition
24   those features of its facilities and equipment that are required to be readily
25   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
26     37. Here, the failure to ensure that the accessible facilities were available
27   and ready to be used by the plaintiff is a violation of the law.
28


                                              6

     Complaint
         Case 3:21-cv-09189-SK Document 1 Filed 11/29/21 Page 7 of 8




1    II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
2    RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
3    Code § 51-53.)
4       38. Plaintiff repleads and incorporates by reference, as if fully set forth
5    again herein, the allegations contained in all prior paragraphs of this
6    complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
7    that persons with disabilities are entitled to full and equal accommodations,
8    advantages, facilities, privileges, or services in all business establishment of
9    every kind whatsoever within the jurisdiction of the State of California. Cal.
10   Civ. Code §51(b).
11      39. The Unruh Act provides that a violation of the ADA is a violation of the
12   Unruh Act. Cal. Civ. Code, § 51(f).
13      40. Defendants’ acts and omissions, as herein alleged, have violated the
14   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
15   rights to full and equal use of the accommodations, advantages, facilities,
16   privileges, or services offered.
17      41. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
18   discomfort or embarrassment for the plaintiff, the defendants are also each
19   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
20   (c).)
21
22             PRAYER:
23             Wherefore, Plaintiff prays that this Court award damages and provide
24   relief as follows:
25           1. For injunctive relief, compelling Defendants to comply with the
26   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
27   plaintiff is not invoking section 55 of the California Civil Code and is not
28   seeking injunctive relief under the Disabled Persons Act at all.


                                              7

     Complaint
        Case 3:21-cv-09189-SK Document 1 Filed 11/29/21 Page 8 of 8




1        2. For equitable nominal damages for violation of the ADA. See
2    Uzuegbunam v. Preczewski, --- U.S. ---, 2021 WL 850106 (U.S. Mar. 8, 2021)
3    and any other equitable relief the Court sees fit to grant.
4        3. Damages under the Unruh Civil Rights Act, which provides for actual
5    damages and a statutory minimum of $4,000 for each offense.
6        4. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
7    to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
8
9    Dated: November 24, 2021                 CENTER FOR DISABILITY ACCESS
10
11
                                              By: _______________________
12
                                              Amanda Seabock, Esq.
13                                            Attorney for plaintiff
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                             8

     Complaint
